           Case 1:21-cr-00383-BAH Document 58 Filed 05/08/23 Page 1 of 9




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                                  Criminal Action No. 21-383 (BAH)

                        v.                                 Judge Beryl A. Howell

 PATRICK STEDMAN,

                        Defendant.


                          MEMORANDUM OPINION AND ORDER

       Defendant Patrick Stedman, who is facing trial on June 5, 2023, on a five-count indictment

stemming from his alleged conduct at the U.S. Capitol on January 6, 2021, seeks (1) to exclude

evidence, under Federal Rules of Evidence 401, 402, and 403, regarding any events on January 6,

2021 for which defendant was not present and did not observe; and (2) expanded voir dire and

additional peremptory challenges during jury selection. Def.’s Not. of Motions at 1 (Parts III and

IV), ECF No. 46; Def.’s Br. in Supp. Pretrial Mot. (“Def.’s Mem.”) at 31–37, ECF No. 46-1. 1 Both

motions are denied for the reasons outlined below.

I.     Admissibility of General Evidence of Events at the U.S. Capitol Building and Grounds
       on January 6, 2021.

       Evidence is relevant if “it has any tendency to make a fact more or less probable than it

would be without the evidence” and “the fact is of consequence in determining the action.” FED.

R. EVID. 401. Generally, “[i]rrelevant evidence is not admissible,” FED. R. EVID. 402, but even if

relevant, the evidence may be excluded “if its probative value is substantially outweighed by a

danger of one or more of the following: unfair prejudice, confusing the issues, misleading the jury,



       1
         Defendant filed all pretrial motions in a single motion, with Parts I and II addressed in a
separate Memorandum Opinion and Order, ECF No. 57.


                                                 1
          Case 1:21-cr-00383-BAH Document 58 Filed 05/08/23 Page 2 of 9




undue delay, wasting time, or needlessly presenting cumulative evidence,” FED. R. EVID. 403.

According to Rule 403’s plain text, this exclusionary rule does not bar all potentially prejudicial

evidence. Instead, the term “unfair prejudice” “means an undue tendency to suggest decision on

an improper basis, commonly, though not necessarily, an emotional one.” United States v. Ring,

706 F.3d 460, 472 (D.C. Cir. 2013) (quoting Advisory Committee’s Note, Federal Rule of

Evidence 403). “Rule 403 ‘tilts . . . toward the admission of evidence in close cases.” Id. at 474

(quoting United States v. Moore, 732 F.2d 983, 989 (D.C. Cir. 1984)).

       These evidentiary standards make untenable defendant’s instant motion to exclude “video

or other footage or testimony about the conduct of other persons present on the Capitol Building

grounds or in the Capitol Building, including physical assault on any other person, property

destruction, movement of barricades or other barriers, verbal threats to other persons, non-verbal

threats to other persons, or other such words or actions that were not observed by” defendant.

Def.’s Mem. at 31. In his view, “[a]ny action and words of which [he] was not personally aware

could not possibly have impacted his state of mind, and thus are irrelevant and inadmissible.” Id.

       The glaring omission in defendant’s facile position is the obvious relevance of the general

context in which he allegedly engaged in the offense conduct with which he is charged. See

Gov’t’s Opp’n to Def.’s Mot. in Limine Regarding Preclusion of Evidence and Jury Selection

(“Gov’t’s Opp’n”) at 1–4, ECF No. 55. The sheer numbers of individuals making up the mob that

marched on the U.S. Capitol on January 6, 2021—without stopping at the fencing or the barricades

or the police lines or the chemical spray and other crowd control tools deployed by law

enforcement—had the effect of overwhelming law enforcement officers attempting to secure the

Capitol, with the direct consequence of creating a catastrophic security risk requiring the

evacuation of lawmakers, staff, and press representatives legitimately gathered inside the Capitol




                                                2
          Case 1:21-cr-00383-BAH Document 58 Filed 05/08/23 Page 3 of 9




building that day to conduct, facilitate, and observe the certification of the Electoral College vote

count and triggering a lengthy delay before this constitutionally-mandated proceeding could

resume. See id. at 2–3. The property damage and violence against law enforcement officers that

occurred on January 6, 2021, at the U.S. Capitol, resulted in the breach of restricted grounds and

the Capitol building itself, and thus is relevant to the threat that the mob of people posed to the

safety of both law enforcement and lawmakers, whether before, during, and after the latter’s

evacuation from the Capitol building. See id. at 2. Evidence of the magnitude of this mob that

descended on the Capitol is also relevant to contextualizing law enforcement’s threat mitigation

efforts that day and the challenge law enforcement had in dealing with any specific individual’s

criminal conduct. See id. All such general evidence about the events on January 6—even if

defendant did not personally observe all of the conduct engaged in by others in multiple parts of

the Capitol Building and restricted grounds—assists the jury in better understanding the parties’

actions that day and thus the alleged criminal conduct of defendant.

       The specific charges defendant faces also require general evidence of events on January 6,

2021, to prove elements of those offenses. For example, defendant is charged in Count One with

Obstruction of an Official Proceeding, in violation of 18 U.S.C. § 1512(c)(2), see Indictment ¶ 1,

ECF No. 18, which requires the government to show that the Electoral College vote taking place

that day was an “official proceeding” and that defendant’s conduct “influence[d], delay[ed], or

prevent[ed]” that “proceeding.” Id. Additionally, Count One charges defendant with Aiding and

Abetting in violate of 18 U.S.C. § 2, which provides, in pertinent part, that anyone who “commits

an offense against the United States or aids, abets, counsels, commands, induces or procures its

commission, is punishable as a principal.” Id. § 2(a). As the Supreme Court has held in Rosemond

v. United States, 572 U.S. 65 (2014), “[t]o aid and abet a crime, a defendant must not just ‘in some




                                                 3
          Case 1:21-cr-00383-BAH Document 58 Filed 05/08/23 Page 4 of 9




sort associate himself with the venture,’ but also ‘participate in it as in something that he wishes

to bring about’ and ‘seek by his action to make it succeed.’” Id. at 76 (quoting Nye & Nissen v.

United States, 336 U.S. 613, 619 (1949)). Plainly, others’ actions on January 6 at the Capitol, in

combination with defendant’s own actions, are relevant to whether a federally protected function—

i.e., the Electoral College vote certification—was obstructed, delayed, or adversely affected, and

defendant’s knowing joinder of a broader crowd is probative of his participation in a venture that

interfered with a congressional proceeding.

       Defendant doubles down in arguing that “the unfair prejudicial impact of any evidence” of

illegal conduct by others “would substantially outweigh any minimal probative value to be

obtained from that evidence.” Def.’s Mem. at 32. This concern is overblown. To the extent that

other members of the mob, even in defendant’s vicinity, engaged in criminal conduct, defendant’s

conduct may be viewed more positively in comparison. Moreover, defendant has an effective tool

with cross-examination effectively to differentiate himself from other rioters. In short, the

contextual evidence of the conduct of others is so probative of the charges defendant faces that the

probative value “substantially outweighs” the risk of unfair prejudice. FED. R. EVID. 403.

       Judges on this Court, including the undersigned, have denied similar motions in limine in

criminal cases stemming from the January 6, 2021 attack on the Capitol Building for the same or

substantially similar reasons.     See, e.g., United States v. Gillespie, 22-CR-60 (BAH),

Memorandum & Order, ECF No. 43 (D.D.C. Nov. 30, 2022) (Howell, C.J.) (denying defendant’s

motion in limine seeking to exclude “‘general evidence’ of the events on January 6, 2021, including

testimony, videos, photos, or other exhibits from sites at and around the U.S. Capitol where

defendant was not located,” pursuant to Federal Rules of Evidence 401, 402, and 403, for the same

reasons outlined above); United States v. Griffith, No. CR 21-244-2 (CKK), 2023 WL 2043223,




                                                 4
          Case 1:21-cr-00383-BAH Document 58 Filed 05/08/23 Page 5 of 9




at *2–*3 (D.D.C. Feb. 16, 2023) (denying defendant’s motion in limine seeking “to exclude ‘all

conduct by others other than defendant,’” pursuant to Rules 401, 402, and 403 because “the

collective nature of the mob likens these cases to those involving criminal conspiracies where

individuals work in concert to achieve a collective goal” and “this ‘general’ evidence is a far cry

from Defendant’s prior ‘bad acts’ that implicate any risk of prejudice”) (emphasis omitted); United

States v. MacAndrew, No. CR 21-730 (CKK), 2022 WL 17961247, at *3 (D.D.C. Dec. 27, 2022)

(similar); United States v. Carpenter, No. CR 21-305 (JEB), 2023 WL 1860978, at *3–4 (D.D.C.

Feb. 9, 2023) (similar). Given that defendant fails to address or show any deficiency in the

reasoning in any of these decisions, they remain persuasive here for the reasons outlined above.

       Accordingly, defendant’s motion in limine to exclude any evidence of what occurred on

January 6, 2021 that he personally did not observe is denied.

II.    Expanded Voir Dire And Additional Peremptory Challenges Are Unnecessary.

       As part of his motion in limine, defendant adds requests that have nothing to do with any

limitations on evidence at trial but instead relate to “expanded voir dire and additional peremptory

challenges.” Def.’s Mem. at 32. Specifically, defendant asks the Court to: (1) send a questionnaire

to summoned prospective jurors, after review and approval by the Court, with the parties present

during any pre-screening questioning the Court conducts before formal voir dire, id. at 35; (2)

allow “individual questioning” during voir dire, which apparently means attorney-conducted voir

dire, id.; and (3) expand the number of peremptory challenges to be used by defendant from ten to

twenty, id. at 36–37. Each of these requests are denied as unnecessary.

        With respect to defendant’s requests for a questionnaire and attorney-conducted voir dire,

the law is clear that “the trial court retains great latitude in deciding what questions should be asked

on voir dire,” Mu’Min v. Virginia, 500 U.S. 415, 424 (1991); accord United States v. Tsarnaev,




                                                   5
          Case 1:21-cr-00383-BAH Document 58 Filed 05/08/23 Page 6 of 9




142 S. Ct. 1024, 1034 (2022), including in the “mode and manner of proceeding” and “the range

of questions put to the prospective jurors,” United States v. Littlejohn, 489 F.3d 1335, 1342 (D.C.

Cir. 2007) (quoting United States v. Robinson, 475 F.2d 376, 380 (D.C. Cir. 1973)). That

discretion will be exercised here by rejecting defendant’s request for a questionnaire and party-

conducted voir dire. To start, requiring prospective jurors in a venire to respond to a questionnaire

would consume time as well as judicial and party resources to prepare a written questionnaire and

additional court resources to mail, collect, and review responses. Such an undertaking for a

questionnaire is wholly unnecessary here. The parties are required to submit proposed voir dire

questions directly to the Court as part of their Joint Pretrial Statement, see Standing Order ¶ 10(c),

ECF No. 35, and, consequently, any concern about “[p]redetermined views” held by prospective

jurors, Def.’s Mem. 35, may be addressed through those proposed and the Court’s supplemental

questions during in person, oral voir dire rather than in a written questionnaire. At the time of jury

selection, prospective jurors will be able to respond to questions posed collectively and then to

follow-up questions on an individual basis outside the presence of the other prospective jurors.

Any questions that would be posed on a questionnaire may be posed orally during voir dire. This

is certainly not a case requiring a lengthy period of jury service, which is the more typical

circumstance deemed to warrant a special questionnaire to ensure an adequate venire of

prospective jurors able to serve.

       With one exception, see United States v. Alford, No. CR 21-263 (TSC), ECF No. 46 at 14–

15 (D.D.C. Apr. 18, 2022) (“Alford Order”), no other Judge on this Court has adopted use of a

questionnaire for trials of single (or even multiple) defendants on charges arising from the attack

on the U.S. Capitol on January 6, 2021. See, e.g., United States v. Nassif, No. CR 21-421 (JDB),

2022 WL 4130841, at *11 (D.D.C. Sept. 12, 2022) (declining to adopt any special voir dire




                                                  6
          Case 1:21-cr-00383-BAH Document 58 Filed 05/08/23 Page 7 of 9




procedures, including individual questioning and using questionnaires, explaining that most courts

“have empaneled juries in January 6 cases without resorting to enhanced protocols”); United States

v. Rhine, No. CR 21-0687 (RC), 2023 WL 372044, at *5 (D.D.C. Jan. 24, 2023) (rejecting

“[d]efendant’s request for a written juror questionnaire”); United States v. Chwiesiuk, No. CR 21-

536 (CKK), 2023 WL 2562517, at *7 (D.D.C. Mar. 17, 2023) (same). In sum, defendant’s

requested use of a written questionnaire to prospective jurors is superfluous and unnecessary here.

       Defendant further requests attorney-conducted voir dire. The applicable procedural rule

gives the Court discretion to “examine prospective jurors or [] permit the attorneys for the parties

to do so.” FED. R. CRIM. P. 24(a). To be sure, some Judges on this Court allow counsel to ask

follow-up questions during voir dire. See, e.g., Alford Order at 14–15, Rhine, 2023 WL 372044,

at *5 (“The Court grants Defendant’s alternative request for individual questioning during voir

dire.”); Chwiesiuk, 2023 WL 2562517, at *7 (explaining that the Court’s “trial procedures order”

already allows counsel to “pose brief follow-up questions” to potential jurors during voir dire).

This is a matter of discretion, however. Allowing attorney-conducted voir dire may invariably, as

the government notes, “take more time and will increase the risk that improper or leading questions

are asked to prospective jurors.” Gov’t’s Opp’n at 5; see also C.J. Williams, To Tell You the Truth,

Fed. Rule of Criminal Procedure 24(A) Should Be Amended to Permit Attorneys to Conduct Voir

Dire of Prospective Jurors, 67 S. C. L. REV. 35, 62 (2015) (acknowledging, without rebutting, the

criticism “that attorneys abuse the opportunity to question prospective jurors by trying to

improperly influence them”); Reid Hastie, Is Attorney-Conducted Voir Dire an Effective

Procedure for the Selection of Impartial Juries?, 40 AM. U. L. REV. 703, 705 (1991) (“[A] negative

factor in jury selection relates to attorney use of voir dire to systematically indoctrinate jurors by

creating doubts about the credibility of opposition witnesses, or construing the evidence or the law




                                                  7
          Case 1:21-cr-00383-BAH Document 58 Filed 05/08/23 Page 8 of 9




in a manner to favor their side of the case[.]”). With the Court in control of voir dire questioning,

the risk of potential jurors being prejudiced or influenced by counsel’s questioning is significantly

mitigated if not outright eliminated.

       In the view of this Court, defendant’s request for attorney-conducted voir dire is both

unnecessary and counterproductive. During the jury selection process, the Court will pose

questions collectively to the venire panel as a whole, based upon input from the parties through

proposed voir dire questions submitted as part of the Joint Pretrial Statement. Then, follow-up

questions will be asked of prospective jurors individually, as necessary, after consultation with

counsel for defendant and the government. See FED. R. CRIM. P. 24(a)(2)(B) (“If the court

examines the jurors, it must permit the attorneys for the parties to: . . . submit further questions

that the court may ask if it considers them proper.”). Thus, counsel for both parties will have the

opportunity to propose to the Court follow-up questions to be posed to prospective jurors to ensure

a searching voir dire without unnecessarily delaying the jury-selection process and risking

prejudicing potential jurors.

       Finally, defendant’s request for double the number of peremptory challenges allowed under

the governing procedural rules is denied. Federal Rule of Criminal Procedure 24(b)(2) provides

that a defendant in a non-capital, felony case is entitled to ten peremptory challenges, with

additional peremptory challenges only expressly allowed when the trial involves “multiple

defendants,” FED. R. CRIM. P. 24(b). Given that only a single criminal defendant is on trial in this

felony case, the circumstance contemplated under the applicable rule for an increased number of

peremptory challenges is plainly inapplicable. Defendant has identified no authority to exceed the

number of ten peremptory challenges provide in Rule 24, nor provided any persuasive reason why

the authorized number is insufficient “to ensure that he receives his right to a fair and impartial




                                                 8
            Case 1:21-cr-00383-BAH Document 58 Filed 05/08/23 Page 9 of 9




jury.” Def.’s Mem. at 32. As defendant concedes, “peremptory challenge[s] ha[ve] never been

held to be constitutionally mandated by the Supreme Court,” id. at 37 (quoting Boone v. United

States, 483 A.2d 1135, 1138 (D.C. Cir. 1984)), and he has provided no persuasive reason why

additional ones should be granted here, even if permitted under Rule 24.

          Defendant’s request for an expanded number of peremptory challenges is accordingly

denied.

III.      ORDER

          For the foregoing reasons, it is hereby

          ORDERED that defendant’s Notice of Motions (Parts III and IV), ECF No. 46, are

DENIED.

          SO ORDERED.

          Date: May 8, 2023

                                                        __________________________
                                                        BERYL A. HOWELL
                                                        District Judge




                                                    9
